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Proposed Attorneys for the Official Committee of
Unsecured Creditors of Electrotek Corporation


                          THE UNITED STATES BANKRUPTCY COURT FOR THE
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 IN RE:                                            )
                                                   )
 ELECTROTEK CORPORATION,                           )      Case No. 21-30409-MVL-11
                                                   )
                                   Debtor.         )      Chapter 11
                                                   )
                                                   )

                           MOTION FOR ORDER DIRECTING RECORDS
                           EXAMINATION OF DEBTOR PURSUANT TO
                        FEDERAL RULE OF BANKRUPTCY PROCEDURE 2004

 NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE
 IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
 EARLE CABELL FEDERAL BUILDING, 1100 COMMERCE ST., ROOM 1254,
 DALLAS, TEXAS 75242 BEFORE CLOSE OF BUSINESS ON AUGUST 25, 2021,
 WHICH IS AT LEAST 21 DAYS FROM THE DATE OF SERVICE HEREOF.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
 COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
 THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A
 HEARING MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
 RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
 MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
 ACTION MAY BE TAKEN.




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         The Official Committee of Unsecured Creditors of Electrotek Corporation (the

“Committee”), by and through its proposed counsel, hereby moves (the “Motion”) this this Court

to enter an Order directing Debtor (a) to produce all documents identified in Exhibit A. In

support thereof, the Committee states:

         1.        The Committee has requested documents related to the Debtor’s books and

records.

         2.        Debtor’s counsel agreed to provide the Committee requested information and

documentation. Debtor has provided certain information to date, but has not produced large

portions of necessary information, including, but not limited to, payroll reports, information

related to alleged secured debt, information related to PPP loans, insurance coverage

information, information related to owned personal property, information related to onwed reak

property, etc.

         3.        The standards regarding Rule 2004 document productions are well-established.

“On motion of any party in interest, the court may order the examination of any entity.” Fed. R.

Bankr. P. 2004(a). Additionally, the court may compel the production of documents. Fed. R.

Bankr. P. 2004(c).

         4.        “The examination of an entity under this rule or of the debtor, under § 343 of the

Code may relate only to the acts, conduct, or property or to the liabilities and financial condition

of the debtor.” Fed. R. Bankr. P. 2004(b).

         5.        “The broad scope of questioning that applies at a meeting of creditors also applies

at a Rule 2004 examination. Any question is allowable if (1) it relates to the acts, conduct,

property, liabilities, or financial condition of the debtor, or (2) it relates to any matter that may




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affect the administration of the bankruptcy estate or the debtor’s right to a discharge.” In re

Russell, 392 B.R. 315, 359 (Bankr. E.D. Tenn. 2008).

         6.        “A Rule 2004 examination is a legally authorized fishing expedition.” In re

Russell, 392 B.R. at 359; see also In re GHR Companies, Inc., 41 B.R. 655, 660 (Bankr. D.

Mass. 1984) (“The [Rule 2004] examination has also been likened to a necessary ‘fishing

expedition.’”).

         7.        “The clear intent of Rule 2004 (and its predecessor rules) is to give parties in

interest an opportunity to examine individuals having knowledge of the financial affairs of the

debtor in order to preserve the rights of creditors.” In re GHR Companies, Inc., 41 B.R. at 660.

         8.        The requested documents are necessary for the Committee to continue determine,

among other things, whether Debtor’s Chapter 11 Plan of Reorganization [Dkt. No. 27] meets

the requirements of 11 U.S.C. §§ 1129(a) and 1129(b). As such, the production and protection of

such documents and information is imperative to the on-going administration of these

bankruptcy cases.

         9.        Federal R. Bankr. P. 2004(c) provides, among other things, that the Court may

compel the production of documents.

         WHEREFORE, the Committee respectfully moves the clerk and this Court to enter an

Order directing Debtor (a) to produce all documents set forth in Exhibit A to Husch Blackwell

LLP on or before August 17, 2021, and (b) for such other and further relief as this Court deems

just and proper.

Dated: August 5, 2021

                                                Respectfully submitted,

                                                HUSCH BLACKWELL LLP



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                                             Proposed Attorneys for the Official Committee of
                                             Unsecured Creditors of Electrotek Corporation

                                CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing was served
electronically on all creditors, parties in interest or their attorneys of record, according to the
Court’s notice of electronic filing on August 5, 2021.



                                             By:     /s/ Caleb T. Holzaepfel
                                                     Caleb T. Holzaepfel




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                                    Definitions Applicable to Exhibit

         As used in this Exhibit A, the following words are specifically defined.

        1.      “Document” means the original and/or a copy which differs in any way from the
original or any notes, checks, check stubs, account statements, loans, financing statements,
security statements, receipts, correspondence, pleadings, memoranda (including written
memoranda of telephone conversations, other communications or activities), expense vouchers,
invoices, time sheets, draw requests, contracts, agreements, pamphlets, books, newspaper or
magazine articles, records, notebooks, letters, telegrams, interoffice communications, faxes,
microfilms, studies, reports, analyses, messages, summaries, films, photographs, tapes,
transcripts, advertisements and any other written matter of any kind including, but without
limitation, any marginal or editorial comments appearing on any documents or any other writing.

        2.      “Person” means any natural person, corporation, partnership, firm, trust, group,
association, or other organization and, where appropriate, the use of the singular includes the
plural and the use of the plural includes the singular.

         3.      “Communicate” or “Communication” means all inquiries, discussions,
conversations, negotiations, agreements, understandings, meetings, telephone conversations,
letters, notes, telegrams, advertisements, brochures, memoranda, or other forms of verbal,
written, or electronic correspondence, including electronic mail (“email”).

      4.      “Secured Debt” shall refer to the alleged security interests referred to in your filed
Schedule A/B, see Dkt. No. 1, Schedule D.

        5.      “Insurance” shall refer to all insurance policies, coverage documents, letters of
credit, surety bonds that the Debtor is a party to or beneficiary of from February 2020 through
today.
        6.      “Real Property” shall refer to 7745 S 10TH ST OAK CREEK 53154 real property
(Parcel #: 7839042000).

      7.               “PPP Account” shall refer to the monies received from Texas Champion Bank
by Debtor.

        8.     “Relation” shall refer to any sibling, aunt, uncle, grandparent, niece, nephew,
child, grandchild, cousin or second cousin.

        9.      “Priority Wage Claim” shall refer to the alleged priority wage claims referred to
in your filed Schedule E/F, see Docket No. 1, Schedule E/F, Part 2.1, 2.2.




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                                        Applicable Time Period

         Except as otherwise noted below, for purposes of Items 1 – 7, 9 – 12, the applicable time

period is March 2017 through the present. Except as otherwise noted below, for purposes of

Item 8, the applicable time period is March 2020 through the present.

                                              EXHIBIT A

                                         Documents Requested

         1.        All documents and communications regarding the alleged Secured Debt.

      2.       All documents and communications regarding the sale and purchase of Electrotek
Corporation in 2019 or 2020, as applicable.

       3.      Copies of each monthly brokerage statement, bank statement, or account
statement otherwise for the PPP Account.

       4.      All documents and communication regarding transfers to Debtor or from Debtor
by Dhirajal Barbaria, Ashwin J. Babaria, Manu J. Babaria, Dalpat J. Babaria, or Ajay A.
Barbaria, or any Relation to the forementioned individuals.

        5.     All documents and correspondence regarding pre-petition payments made by
Debtor between December 1, 2019 and December 6, 2020, including, but not limited to, the
payee, the invoice the payment related to, the invoice date, and the amount of the payment.

         6.        A list of all owned equipment of Debtor as of August 1, 2021.

         7.        A list of all leased equipment of Debtor as of August 1, 2021.

        8.     All documents and communication regarding the alleged Priority Wage Claim,
including but not limited to, including, but not limited to, employee, employee title, wages or
benefits owed, wage rate, and pay period amounts owed as to.

      9.     Copies of each monthly payroll statement, including, but not limited to,
employee, employee title, payment amount, wage rate, and pay period.

       10.     All documents and correspondence regarding post-petition payments made by
Debtor between March 8, 2021 and August 1, 2021, including, but not limited to, the payee, the
invoice the payment related to, the invoice date, and the amount of the payment.

        11.   All documents and correspondence regarding the alleged unsecured claim owed
as to Kinwong Electronic Ltd. by Debtor.




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       12.    All state and federal tax returns (and any amendments thereto) for the 2017, 2018,
2019, and 2020 tax years. 1

        13.    All documents you have provided to any expert or consultant in connection with
this bankruptcy proceeding.




1
 It is understood that the 2020 tax returns will be provided once they are finalized and filed with the applicable state
and federal taxing authorities.

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